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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA.                   )
                                            )
v.                                          )           CR NO. 2:21cr0455-MHT-SRW
                                            )                (WO)
WILLIAM COLON EASTERLING                    )
BRENT COLON EASTERLING                      )
KASSI BROOK EASTERLING                      )
WILLIAM TYLER EASTERLING                    )
GEORGE WILLIAM EASTERLING                   )
THOMAS GLYN WILLIAMS                        )
AMBER NICOLE EASTERLING.                    )

                                          ORDER

        This matter is before the court on the government’s motion for a protective order.

Doc. 11. Upon consideration, it is ORDERED that the motion is GRANTED to the

following extent:

     1. The United States shall provide all discoverable materials (to include appropriate

        grand jury materials) to all defendants pursuant to Fed.R.Crim.P. 6(e)(3)(E)(i) and

        6(e)(3)(F).

     2. Counsel for the parties shall share the “Protected Information” only with their

        clients, support staff, investigators, contractors, and experts in connection with

        litigating the above-captioned matter;

     3. Counsel shall redact any and all protected information from any public filings; and

     4. If there is a need to request authorization and disclosure of Protected Information

        prior to or during any hearing beyond that which is permitted by this order, then

        counsel shall make an application to the court for authorization and give timely

        notice to all parties.
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DONE, on this the 3rd day of November, 2021.

                                               /s/ Susan Russ Walker
                                               Susan Russ Walker
                                               United States Magistrate Judge




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